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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

 MARCO MANZANARES AND                                      §
 VIRGINIA MANZANARES                                       §
                                                           §
      Plaintiffs,                                          §                   C.A. NO. 4:22-cv-1141
                                                           §
 VS.                                                       §
                                                           §
 SELECT PORTFOLIO SERVICING, INC.                          §
 AND ATHENE ANNUITY & LIFE                                 §
 ASSURANCE COMPANY                                         §

                        STIPULATION OF DISMISSAL WITHOUT PREJUDICE

          Plaintiffs, Marco and Virginia Manzanares (“Plaintiffs”) hereby file this Stipulation of

Dismissal without Prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, and would respectfully show unto the Court as follows:

          1.         Plaintiffs filed this lawsuit against Defendants, Select Portfolio Servicing, Inc.

(“SPS”) and Athene Annuity & Life Insurance Company (“Athene”) (collectively referred to

herein as “Defendants”), in State Court on April 4, 2022. Defendants removed the matter to this

Court on April 8, 2022, based on Diversity Jurisdiction.

          2.         Plaintiffs wish to dismiss all claims against Defendants without prejudice.

          3.         In conformity with Rule 41(a)(1)(A)(ii), this Stipulation is signed by all parties who

have appeared in the action.

          4.         By this Stipulation, it is hereby stipulated that all claims and causes of action brought

by Plaintiffs against Defendants, are dismissed without prejudice to re-filing same or any part thereof.

          5.         Plaintiffs and Defendants further stipulate that all costs of court, attorney’s fees and

other costs incurred are to be borne by the party incurring the same.




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          WHEREFORE, PREMISES CONSIDERED, all claims and causes of action brought by

Plaintiffs against Defendants are dismissed without prejudice by stipulation of all parties.


                                              By: /s/ Jason A. LeBoeuf
                                                 Jason A. LeBoeuf
                                                 Texas State Bar No. 24032662
                                                 675 Town Square Blvd., Suite 200
                                                 Building 1A
                                                 Garland, Texas 75040
                                                 214-206-7423 Telephone
                                                 214-730-5944 Facsimile
                                                 jason@leboeuflawfirm.com

                                                  ATTORNEYS-IN-CHARGE FOR
                                                  PLAINTIFFS

                                              By: /s/ Michael F. Hord Jr.
                                                 Michael F. Hord, Jr.
                                                 Texas Bar No. 00784294
                                                 Eric C. Mettenbrink
                                                 Texas Bar No. 24043819
                                                 HIRSCH & WESTHEIMER, P.C.
                                                 1415 Louisiana, 36th Floor
                                                 Houston, Texas 77002
                                                 (713) 220-9182 Telephone
                                                 (713) 223-9319 Facsimile
                                                 mhord@hirschwest.com
                                                 emettenbrink@hirschwest.com

                                                  ATTORNEYS-IN-CHARGE
                                                  FOR DEFENDANTS




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of April, 2022, a true and correct copy of the foregoing
and/or attached was served on each attorney of record or party in accordance with Federal Rule
of Civil Procedure 5(b) as follows:

                                        Jason A. LeBoeuf
                                 675 Town Square Blvd., Suite 200
                                           Building 1A
                                       Garland, TX 75040
                                            Via ECF


                                               /s/ Michael F. Hord Jr.
                                               Michael F. Hord Jr.




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